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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
----------------------------------------------------------------- x
LEE,                                                             :
                                                                 :                 1/12/2021
                                            Plaintiff,
                                                                 :
                                                                 :
                                                                 :
                 v.                                                     1:20-cv-05937-ALC
                                                                 :
                                                                 :      ORDER
GROVE GROUP ADVISORS LLC, ET AL.,
                                                                 :
                                                                 :
                                                                 :
                                            Defendants.
                                                                  :
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ANDREW L. CARTER, JR., District Judge:

         The Court hereby extends the time for Defendants to answer the complaint or request

leave to file a pre-answer motion to February 17, 2021.

         The Court reminds Defendants that while an individual may appear pro se, a corporation

or an LLC may only appear through counsel in a lawsuit. See Rowland v. Cal. Men's Colony, Unit

II Men's Advisory Council, 506 U.S. 194, 202-03 (1993) (noting that courts do not allow

corporations, partnerships, associations, and other “artificial entities” to appear in court without an

attorney). Failure to retain counsel for such entities may result in entry of default judgment. See

Grace v. Bank Leumi Trust Co., 443 F.3d 180, 192 (2d Cir. 2006) ("[I]t is settled law that a

corporation may not appear in a lawsuit against it except through an attorney, and that, where a

corporation repeatedly fails to appear by counsel, a default judgment may be entered against it."

(citation and internal quotation marks omitted)).
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SO ORDERED.
Dated: January 12, 2021
      New York, New York



                                               ANDREW L. CARTER, JR.
                                               United States District Judge
